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         RESOLUTION OF THE CHIEF RESTRUCTURING OFFICER OF SHIFTPIXY INC.

WHEREAS, the Board of Directors of ShiftPixy Inc., a Wyoming corporation (the "Company"), by
resolution dated October 26, 2024, authorized the filing of a Chapter 11 bankruptcy petition and
appointed Jonathan Feldman as the Chief Restructuring Officer ("CRO") to take all necessary
actions to effectuate the filing; and

WHEREAS, Jonathan Feldman, in his capacity as the CRO of the Company, has determined that it
is desirable and in the best interests of the Company, its creditors, and other parties in interest that
the Company file a voluntary petition for relief (the "Chapter 11 Case") under the provisions of
chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") in the United States
Bankruptcy Court for the Southern District of Florida (the "Bankruptcy Court"); and

WHEREAS, the CRO has determined that it is desirable and in the best interests of the Company's
wholly owned affiliates, ShiftPixy Staffing Inc. and ReThink Human Capital Management Inc., both
Wyoming corporations (collectively, the "Affiliates"), their respective creditors, and other parties in
interest that each of the Affiliates file a voluntary petition for relief under chapter 11 of the Bankruptcy
Code in the Bankruptcy Court; and

WHEREAS, the CRO deems it advisable and in the best interests of the Company and the Affiliates
to retain DGIM Law PLLC as debtors' counsel in connection with the Chapter 11 Cases, subject to
Bankruptcy Court approval;

NOW, THEREFORE, BE IT RESOLVED, that the CRO, on behalf of the Company, hereby
authorizes the following actions:

1. Filing of Chapter 11 Petitions

1.1. The CRO is authorized and empowered to execute and file on behalf of the Company all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action
that he deems necessary or proper to obtain relief under chapter 11 of the Bankruptcy Code,
including, without limitation, any action necessary to maintain the ordinary course operation of the
Company's business.

1.2. The CRO is authorized and empowered to cause each of the Affiliates to execute and file all
petitions, schedules, lists, and other motions, papers, or documents, and to take any and all action
necessary or proper to obtain relief under chapter 11 of the Bankruptcy Code for each of the
Affiliates, including, without limitation, any action necessary to maintain the ordinary course
operation of the Affiliates' respective businesses.

2. Retention of Professionals

2.1. The law firm of DGIM Law PLLC is hereby retained as debtors' counsel for the Company and
the Affiliates in the Chapter 11 Cases, subject to Bankruptcy Court approval.

2.2. The CRO is authorized and directed to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed appropriate applications for authority to retain the
services of DGIM Law PLLC.

3. Further Actions
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3.1. The CRO is authorized to execute and deliver all instruments, agreements, and documents, and
take such actions as may be necessary or appropriate to effectuate the purposes and intent of these
resolutions.

3.2. Any and all actions heretofore taken by the CRO or any director, officer, or authorized person of
the Company in the name and on behalf of the Company in furtherance of the purpose and intent of
any or all of the foregoing resolutions be, and hereby are, ratified, confirmed, and approved in all
respects.

IN WITNESS WHEREOF, the undersigned has executed this Resolution as of the date set forth
below.

Date: October 28,2024

______________________________
Jonathan Feldman
Chief Restructuring Officer
ShiftPixy Inc.
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                                                              APPROVED
                                                              Minutes of a
                                                          Special Meeting of the
                                                            Board of Directors
                                                                   of
                                                             ShiftPixy, Inc.,
                                                         a Wyoming Corporation

                     A Special Meeting of the Board of Directors (the “Board”) of ShiftPixy, Inc. (the

            “Company”), was held on October 26, 2024, at 9:00 a.m. EDT. 1 The meeting was held via a Teams

            video call. 2

                     The following directors were present at the meeting, waiving notice of the meeting through

            participation: 3 Scott W. Absher, Whitney White; Christopher Sebes; and Martin Scott. Also present

            by invitation was Timothy M. Papp, the Company’s General Counsel and Jonathen Feldman. It was

            determined that the number of persons in attendance, as a “majority of the Directors currently

            holding office,” constituted a quorum of the Board for purposes of voting at the meeting. 4

                     Mr. Absher, presiding as Chair, called the meeting to order at 9:02 a.m. EDT.

                                                           Approval of Minutes
                     None

                     Ratification of the Board Meeting and Actions of the Board taken on October 19th, 2024

            and as amended on October 20th, 2024 and the recommendation and direction of the Board of

            Directors to file for bankruptcy.

                     Discussion was had between and amongst the Board Members regarding the actions

            taken by the board on October 19th, 2024 and the decision to remove Mr. Absher from his


            1
              Article III, Section 4 of the Bylaws; see also Section 17-16-820 of the Wyoming Business Corporation Act.
            2
              Article III, Section 8 of the Bylaws; see also Section 17-16-820 of the Wyoming Business Corporation Act.
            3
              Article III, Section 5 of the Bylaws; see also Section 17-16-823(b) of the Wyoming Business Corporation Act.
            4
              Article III, Section 6 of the Bylaws; see also Section 17-16-824(a) of the Wyoming Business Corporation Act; note
            that per Section 17-16-824(c), “[i]f a quorum is present when a vote is taken, the affirmative vote of a majority of
            directors present is the act of the board of directors unless the articles of incorporation or bylaws require the vote of a
            greater number of directors;” see also Article III, Section 7 of the Bylaws.

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            positions in the Company for cause. Mr. Papp was asked to discuss the information provided the

            Board Members, the context of those discussions, as well as other matters and Mr. Feldman was

            asked to discuss a number of matters and issues facing the company as well as his assessment of

            the current financial condition of the company.

                     At the conclusion of this discussion, consensus emerged as follows:

                     WHEREUPON, on motions duly made and seconded, the Board (i) ratified and

            approved the Board Meeting and actions of the Board of Directors taken on October 19th, 2024

            and as amended on October 20th, 2024 with Mr. Absher voting against the Resolution, and (ii)

            finding the company insolvent by every reasonably accepted metric and directing the Company’s

            Chief Restructuring Officer to file for bankruptcy as soon as is reasonably practical with Mr.

            Absher voting against the Resolution.

                     RESOLVED, that the actions of the Board of Directors on October 19th, 2024 and as

            amended on October 20th, 2024 are hereby confirmed, ratified and adopted and as such were

            taken in the best interests of the Company, its creditors and other parties in interest.

                     FURTHER RESOLVED, that in the judgment of the Board of Directors (the “Board”)

            of ShiftPixy, Inc. (the “Company”), based on, among other things, review of the relevant

            finances and projections of the Company, it determined that it was desirable and in the best

            interests of the Company, its creditors and other parties in interest, that the Company file, or

            cause to be filed, a voluntary petition for relief under the provisions of chapter 11 of Title 11 of

            the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the

            Southern District of Florida (Fort Lauderdale Division), to commence a chapter 11 proceeding

            (the “Chapter 11 Proceeding”); and it is



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                     FURTHER RESOLVED, that Jonathan Feldman, the Company’s Chief Restructuring

            Officer, or any other officer as designated by the Board (collectively, the “Authorized Officers”),

            acting alone or with one or more other Authorized Officers, be, and they hereby are, authorized

            to execute and file on behalf of the Company all petitions, schedules, lists and other motions and

            papers, or documents, and to take any and all actions that they deem necessary or proper to

            obtain such relief, including, without limitation, any action necessary to maintain the ordinary

            course operation of the Company’s and the Subsidiary’s respective businesses.

            B.       Retention of Professionals

                     FURTHER RESOLVED, that any Authorized Officer be, and each hereby is,

            authorized to employ special corporate counsel, to represent and assist the Company in any and

            all matters and provide advice and guidance in connection with, among other things, the

            operations, ongoing or hereafter arising litigation, and other non-bankruptcy matters of and

            related to the Company and during any bankruptcy case; and in connection therewith, the

            Authorized Officers, with power of delegation, are hereby authorized and directed to execute

            appropriate retention agreements, pay appropriate retainers and to cause to be filed an

            appropriate application for authority to retain special counsel to provide advice and guidance as

            to its government contracts, as necessary; and it is;

                     FURTHER RESOLVED, that any Authorized Officer be, and each hereby is,

            authorized to employ on or more financial advisors in the Authorized Officer’s discretion to

            advise the Company in connection with the Chapter 11 Proceedings including any sale

            contemplated therein; and in connection therewith, the Authorized Officers, with power of

            delegation, are hereby authorized and directed to execute appropriate retention agreements, pay



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            appropriate retainers and to cause to be filed an appropriate application for authority to retain the

            services of such financial advisor(s); and it is

                     FURTHER RESOLVED, that any Authorized Officer be, and each hereby is,

            authorized and directed to employ any other professionals to assist the Company in carrying out

            their duties under the Bankruptcy Code; and in connection therewith, the Authorized Officers,

            with power of delegation, are hereby authorized and directed to execute appropriate retention

            agreements, pay appropriate retainers and to cause to be filed an appropriate application for

            authority to retain the services of any other professionals as necessary.

            C.       Further Actions and Prior Actions

                     RESOLVED that in addition to the specific authorizations heretofore conferred upon the

            Authorized Officers, each of them, acting alone, hereby is authorized, directed and empowered,

            in the name and on behalf of the Company to take or cause to be taken any and all such further

            actions, to execute and deliver any and all such agreements, certificates, instruments and other

            documents and to pay all expenses, including filing fees, in each case as in such Authorized

            Officer’s judgment shall be necessary or desirable to fully carry out the intent and accomplish

            the purposes of these resolutions; and it is

                     FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters

            contemplated by the foregoing resolutions done in the name of, and on behalf of, the Company

            and Subsidiary, which acts would have been approved by the forgoing resolutions except that

            such acts were taken before these resolutions were adopted, are hereby in all respects confirmed,

            approved and ratified in all respects; and it is




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                     FURTHER RESOLVED, that Any Authorized Officer be, and each hereby is,

            authorized to obtain and negotiate debtor-in-possession financing (“DIP Financing”) on terms as

            in such Authorized Officer’s judgment shall be necessary or desirable to fully carry out the intent

            and accomplish the purposes of these resolutions; and it is

                                                                Other Business

                     None.

                                                                 Adjournment

                     There being no other business, the meeting was adjourned at 9:53 a.m. EDT.

            Respectfully Submitted,

            Timothy M. Papp

            Attachments:
            Board Meeting Minutes – 10-19-24


              Scott Absher                        Present                 Against
              Whitney White                       Present                 For
              Christopher Sebes                   Present                 For
              Martin Scott                        Present                 For




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